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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN JOSE DIVISION
                                Judge Edward J. Davila
                                 Courtroom 1 - 5th Floor
                                Criminal Minute Order
                                                          TIME IN COURT:     30 mins
                                                                     (3:30 – 4:00 PM)

Date: January 4, 2016                                 U.S. Probation Officer: Kevin Pollock
Courtroom Deputy: Elizabeth Garcia                    U.S. Pretrial Services Officer: Jaime
Court Reporter: Irene Rodriguez                       Carranza
                                                      Interpreter: N/A

CASE NUMBER: 5:15-cr-00226-EJD
TITLE: USA v. Douglas Stroms York (NC)(P)

Government Attorney(s) present: Jeff Schenk
Defendant Attorney(s) present: Graham Archer

PROCEEDINGS: Sentencing Hearing

ORDER AFTER HEARING:
Hearing held.
The Court sentenced the defendant as to Count 1 of the Superseding Indictment. The Court
committed the defendant to one year (1) and one (1) day of BOP custody, one (1) year supervised
release, $100 special assessment. The defendant shall self-surrender on February 3, 2016 by 2:00
PM. Defendant notified of appeal rights. Defendant shall adhere to all previously imposed
conditions of pretrial release until he self-surrenders.




P/NP: Present, Not Present                                                       Elizabeth C. Garcia
C/NC: Custody, Not in Custody                                                    Courtroom Deputy
I: Interpreter                                                                       Original: Efiled
                                                                                                CC:
